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                     United States District Court for the Northern District of Illinois


        Case Number: 24-CV-255                          Assigned/Issued By: QRTR

        Judge Name: Kness                               Designated Magistrate Judge: Fuentes


                                                FEE INFORMATION


    Amount Due:                  $405.00             $52.00            $5.00

                                       IFP           No Fee                Other

                                 $605.00

    Number of Service Copies                                  Date:

                                          (For Use by Fiscal Department Only)

    Amount Paid:                                              Receipt #:

    Date Payment Rec’d:                                       Fiscal Clerk:


                                                     ISSUANCES

                  Summons                                              Alias Summons

                  Third Party Summons                                  Lis Pendens

                  Non Wage Garnishment Summons                         Abstract of Judgment

                  Wage-Deduction Garnishment Summons

         ✔        Citation to Discover Assets                                 (Victim, Against and $ Amount)


                  Writ
                             (Type of Writ)


  1         Original and 1               copies on 9/30/24            as to Dilshodbek Abdukarimov
                                                         (Date)
 (Notice Filed)



Rev. 12/1/2023
